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 8                       UNITED STATES DISTRICT COURT
 9                      NORTHERN DISTRICT OF CALIFORNIA
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11    UNIONAMERICA INSURANCE CO., )
      LIMITED, Successor-in-      )
12    interest to ST. PAUL        )        No. C05-1912 BZ
      REINSURANCE,                )
13                                )        ORDER DENYING PLAINTIFF’S
                Plaintiff(s),     )        MOTION FOR SUMMARY
14                                )        ADJUDICATION
           v.                     )
15                                )
      THE FORT MILLER GROUP, INC.,)
16    THE FORT MILLER CO. and     )
      BEECHE SYSTEMS CORP.,       )
17              Defendant(s).     )
                                  )
18                                )
19            Plaintiff Unionamerica Insurance Company
20    (“Unionamerica”) has moved for summary adjudication on its
21    first and second causes of action, on the basis that it is
22    entitled to rescind the Commercial General Liability Gap
23    Insurance policies (“CGL gap policies”) it issued in 2000 and
24    2001 to defendants The Fort Miller Group, Inc. (“Fort
25    Miller”) and its subsidiary Beeche Systems Corp. (“Beeche”).1
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               All parties have consented to my jurisdiction for all
     proceedings including entry of final judgment, pursuant to 28
28   U.S.C. § 636(c).

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 1   Unionamerica contends that Fort Miller failed to disclose in
 2   its CGL gap policy applications the nature of its business as
 3   it relates to the design and manufacture of custom
 4   “engineered access systems” and misrepresented the value of
 5   the products Beeche manufactured.    Defendants contend that
 6   they did not fail to disclose material information in
 7   applying for the CGL gap policies, and alternatively, that
 8   any misrepresentations or omissions in the CGL gap policy
 9   applications were not material to Unionamerica’s decision to
10   underwrite the policies.    For the reasons set forth below,
11   Unionamerica’s motion is DENIED.
12           Viewing the record in the light most favorable to Fort
13   Miller and drawing all reasonable inferences therefrom, the
14   factual background to this case is as follows:
15           Fort Miller is the parent of eight subsidiary companies,
16   including Beeche.    Before acquiring Beeche in 1998, Fort
17   Miller manufactured and sold pre-cast concrete products and
18   sold fencing and gates.    Beeche manufactures various
19   components for “access platforms” that allow construction and
20   remediation workers to access high structures, such as office
21   buildings and bridges.    Beeche also sells entire access
22   platform systems, which are comprised of its components and
23   components manufactured by other companies, that it then
24   ships to its buyers who generally assemble the system on
25   site.
26           At some point after it acquired Beeche, Fort Miller,
27   assisted by an insurance broker from Associates of Glens
28   Falls, Inc. (“AGF”), sought to purchase a gap insurance

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 1    policy to cover any exclusions in its comprehensive general
 2    liability policy.
 3            In early March 1999, Barbara Marshall (“Marshall”), a
 4    broker with AGF, prepared a preliminary, unsigned application
 5    for a CGL gap policy on behalf of Fort Miller and submitted
 6    it to U.S. Risk Underwriters, Inc. (“U.S. Risk”).    U.S. Risk
 7    placed gap insurance policies with London-based companies,
 8    such as St. Paul Reinsurance Co., Unionamerica’s predecessor-
 9    in-interest.2
10            On March 8, 1999, Marshall forwarded the unsigned
11    application to Sandy Hoffman (“Hoffman”), an underwriter for
12    U.S. Risk who handled the Fort Miller account in 1999 and
13    2000.    The cover letter informed Hoffman that the unsigned
14    application was Fort Miller’s “first quote of this type for
15    this coverage” and requested that Hoffman review the
16    application and advise AGF if there was any additional
17    information that Fort Miller needed to submit.    The unsigned
18    application identified Beeche as one of the entities that
19    Fort Miller sought to have added as a named insured under the
20    CGL gap policy and described the nature of Fort Miller’s
21    business as “manufacturing, construction and service
22    industries.”    Marshall sent Hoffman brochures describing Fort
23    Miller’s products.    None of the brochures found in U.S.
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               During argument, Unionamerica conceded that U.S. Risk
     was acting as Unionamerica’s agent. Because U.S. Risk acted as
26   Unionamerica’s agent, any knowledge that U.S. Risk and its
     underwriters had regarding the applications for the CGL gap
27   policy is presumed to be knowledge that Unionamerica also had.
     See Culley v. New York Life Ins. Co., 27 Cal.2d 187, 192 (1945)
28   (citing Vanciel v. Kumle, 26 Cal.2d 732, 734 (1945)).

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 1    Risk’s files describe Beeche’s products.
 2            Hoffman responded in writing on March 11, 1999.   The
 3    only questions she asked were what the average and the
 4    largest values of the products that Fort Miller manufactures.3
 5    That same day, Marshall answered that the average value was
 6    less than $1,000 and that the largest value was $100,000.
 7            Hoffman also went online to learn more about Fort
 8    Miller’s products.    In March 1999, she telephoned Marshall
 9    and told her that she was experiencing difficulty in locating
10    Fort Miller’s products on its website.4    Marshall informed
11    Hoffman that all of Fort Miller’s subsidiaries had their own
12    websites, which listed their respective products, and that
13    each of these websites could be accessed via the main Fort
14    Miller website.
15            On April 1, 1999, U.S. Risk transmitted a premium quote
16    for CGL gap policy coverage to AGF.    In May 1999, after
17    making several changes to the original draft application,
18    including the addition of the term “engineered access” to the
19    description of its business, Fort Miller executed the
20    application.    The executed application was forwarded to U.S.
21    Risk on or about June 8, 1999; however, coverage under the
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               The CGL gap policy application contains these same
     questions; however, the original unsigned application left the
24   answers to these two questions blank.
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               Unionamerica’s hearsay objection to Marshall’s
     testimony about her conversation with Hoffman is OVERRULED
26   pursuant to FRE 801(2)(D). Unionamerica’s objection that
     Marshall’s testimony violates the parole evidence rule is
27   OVERRULED. Her testimony is admissible as evidence that any
     omission was not material to Hoffman’s decision to underwrite
28   the policy since she had access to information about Beeche.

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 1   policy was for April 9, 1999 through April 9, 2000.
 2           On March 17, 2000, before the gap policy was scheduled
 3   to expire, AGF sent a letter to U.S. Risk requesting renewal.
 4   The letter asked whether U.S. Risk needed any additional
 5   information from Fort Miller to quote renewal pricing.    On
 6   March 28, 2000, Hoffman sent a memo to AGF attaching a
 7   renewal quote based on the information provided by AGF in
 8   1999.    The CGL gap policy was renewed for coverage through
 9   April 2001, with coverage to be provided by St. Paul
10   Reinsurance Company Limited, Unionamerica’s successor-in-
11   interest.    Unlike the signed 1999 CGL gap policy application,
12   the signed version of the 2000 CGL gap policy application
13   contained no reference to “engineered access.”
14           In January 2001, Fort Miller, again using AGF as its
15   broker, requested a third renewal.    Hoffman no longer worked
16   for U.S. Risk, and Betty Prah (“Prah”), Hoffman’s former
17   supervisor, became the underwriter for the third policy
18   issued to Fort Miller.    In the 2001 application, Fort Miller
19   added the term “access platforms” to the list of products
20   manufactured by Fort Miller and its subsidiaries; the
21   remainder of the application was identical to those submitted
22   in the previous two years.    The policy was renewed in 2001, a
23   claim ensued under the 2001 policy, and Unionamerica filed an
24   action for rescission of the 2000 and 2001 GCL gap policies.
25           The papers filed in connection with this motion stand
26   about 3 feet high and exemplify much of what can go wrong
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 1    with summary judgment motion practice.5    Stripped to its
 2    essentials, the motion boils down to two issues: 1) whether
 3    Fort Miller concealed or misrepresented the value of the
 4    products that it manufactured in the applications6; 2) whether
 5    Fort Miller’s failed to disclose “all it knew” about the
 6    nature of Beeche’s business by failing to list all of
 7    Beeche’s products and failing to attach Beeche’s product
 8    brochures and, if so, whether that failure was material such
 9    that it entitles Unionamerica to rescission as a matter of
10    law.
11            In a diversity action that involves interpretation of an
12    insurance contract, California law governs.    Conestoga Servs.
13    Corp. v. Executive Risk Indem., Inc., 312 F.3d 976, 981 (9th
14    Cir. 2002).    In California, a material misrepresentation or
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               The parties did not follow the Court's order
     requesting the filing a joint statement of undisputed facts.
17   Instead, both parties have filed separate statements of
     undisputed facts, which are accompanied by numerous requests
18   for judicial notice, motions to strike, and objections to facts
     that are of no material significance. Rather than rule on each
19   individual objection, motion to strike, and request for
     judicial notice, I will simply state that I am satisfied that
20   the few material facts set forth in this Order are based on
     admissible evidence.
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               In its reply brief, Unionamerica alleged an
22   alternative ground for rescission based on Fort Miller’s
     misrepresentation of the premiums Fort Miller paid for its CGL
23   coverage. Because this argument was neither raised by
     Unionamerica in its opening brief nor raised by Fort Miller in
24   its opposition brief, I have not taken it into consideration as
     an alternative theory for rescission, and have only considered
25   it for rebuttal purposes. See Glenn K. Jackson Inc. v. Roe,
     273 F.3d 1192, 1201 (9th Cir. 2001) (stating that the district
26   court has discretion to consider an issue raised for the first
     time in a reply brief); Zamani v. Carnes, 491 F.3d 990, 997
27   (9th Cir. 2007) (stating that the district court “need not
     consider arguments raised for the first time in a reply
28   brief.”).

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 1    concealment in an insurance application, whether intentional
 2    or unintentional, entitles the insurer to rescind the
 3    insurance policy ab initio.7   O'Riordan v. Federal Kemper Life
 4    Assurance, 36 Cal.4th 281, 286–87 (2005); Barrera v. State
 5    Farm Mut. Automobile Ins. Co., 71 Cal.2d 659, 665, fn.4
 6    (1969).    This rule has been codified in the California
 7    Insurance Code.8   See West Coast Life Ins. Co. v. Ward, 132
 8    Cal.App.4th 181, 187 (2005) (citing Imperial Casualty &
 9    Indemnity Co. v. Sogomonian, 198 Cal.App.3d 169, 179–180
10    (1988)).   Under California Insurance Code § 334, “materiality
11    is to be determined not by the event, but solely by the
12    probable and reasonable influence of the facts upon the party
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                Fort Miller erroneously argues that the clause that
     appears at the end of the CGL policy applications, which states
15   in relevant part that “[a]ny person who knowingly and with
     intent to defraud any insurance company or other person files
16   an application for insurance . . . for the purpose of
     misleading . . . commits a fraudulent insurance act . . .”,
17   modifies the normal rule and permits rescission only where
     concealment or misrepresentations are intentional. In support
18   of its position, Fort Miller cites Clarendon Nat’l Ins. Co. v.
     Ins. Co. of the West, 442 F.Supp.2d 914, 928 (E.D. Cal. 2006).
19   The clause that Clarendon included in its coverage application
     is distinguishable from the clause Unionamerica included, in
20   part because the clause in Clarendon specifically stated that
     the coverage form would be “void” in the event of an
21   intentional concealment or misrepresentation of a material
     fact. Here, Unionamerica does not speak of voiding the
22   application or policy, but instead informs the insured that it
     will be subject to criminal penalties for fraudulent
23   statements. I therefore find Clarendon to be factually
     distinguishable. A California court has found “Clarendon’s
24   rescission analysis % % % unpersuasive . . . .”. LA Sound USA,
     INC. v. Paul Fire & Marine Ins. Co., 156 Cal.App.4th 1259, 1270
25   n.4 (2007)
26        8
               Thus, under California Insurance Code § 331,
     “[c]oncealment, whether intentional or unintentional, entitles
27   the injured party to rescind insurance.” Concealment is
     defined in § 330 as “[n]eglect to communicate that which a
28   party knows, and ought to communicate.”

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 1   to whom the communication is due, in forming his estimate of
 2   the disadvantages of the proposed contract, or in making his
 3   inquiries.”   The test is subjective in the sense that “the
 4   critical question is the effect truthful answers would have
 5   had on [the particular insurer], not on some ‘average
 6   reasonable’ insurer.”   Sogomonian, 198 Cal.App.3d 169 at 181.
 7   Materiality may be determined as a matter of law where no
 8   reasonable person can disagree as to the materiality of the
 9   misrepresentation.   See Cummings v. Fire Ins. Exch., 202
10   Cal.App.3d 1407 (1988).   “The fact that the insurer has
11   demanded answers to specific questions in an application for
12   insurance is in itself usually sufficient to establish
13   materiality as a matter of law.”    Thompson v. Occidental Ins.
14   Co., 9 Cal.3d 904 (1973) (citations omitted).
15         Summary judgment of rescission may be properly granted
16   for the insurer where the only reasonable inference to be
17   drawn from the evidence presented is that “the false negative
18   answers and omissions of [the applicant] were material to
19   [the insurer’s] decision to provide insurance coverage.”
20   Sogomonian, 198 Cal.App.3d at 182; Lundardi v. Great-West
21   Life Assurance Co., 37 Cal.App.4th 807, 827 (1993); Wilson v.
22   Western National Life Ins. Co., 235 Cal.App.3d 981, 995-96
23   (1991).   The burden of proof is on the insurer to establish
24   concealment or misrepresentation.   Thompson, 9 Cal.3d at 915;
25   see also Casey by & Through Casey v. Old Line Life Ins. Co.
26   of Am., 996 F.Supp. 939, 944 (N.D. Cal. 1998).
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 1                 Fort Miller’s Alleged Misrepresentation
 2                        of the Value of Its Products
 3            Questions 4 and 5 of the CGL gap policy applications
 4    asked for the highest value of any product that Fort Miller
 5    “manufactured” and the average value of the products that
 6    Fort Miller “manufactured”.     Fort Miller answered $100,000
 7    and “less than $1,000", respectively.9    Unionamerica argues
 8    that there “is no question” that Fort Miller misrepresented
 9    both of these values, and contends that the values are in
10    fact much higher.
11            Viewing the evidence and all reasonable inferences in
12    the light most favorable to Fort Miller, I cannot say as a
13    matter of law that Fort Miller misrepresented its answers to
14    the policy application questions.     The policy applications
15    inquired as to the highest value of a product that Fort
16    Miller “manufactured”, not the highest value of a product
17    that it “sold.”10    Fort Miller has offered evidence that while
18    it “manufactures” many of the component parts for the access
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               These same questions were asked as questions 5 and 6
     in the 2001 application. In the 2001 application, Fort
21   Miller’s responses were identical to those in the 1999 and 2000
     applications.
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               The applications ask the following four questions in
23   sequence: “What are your estimated product sales for the next
     12 months; What is the highest value of a product that you
24   manufacture and describe that product; What is the average
     value of a product that you manufacture; During the last five
25   years, do you know of a product that you manufactured or sold
     which was damaged or destroyed as a result of a condition
26   within the product itself?” Fort Miller asserts and supports
     with evidence, that the use of the disjunctive in the last
27   question caused it to believe that the drafter of the
     application understood there to be a difference between the
28   word “manufacture” and the word “sell.”

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 1   systems that it assembles and sells, no component part that
 2   it “manufactures” has a maximum value that exceeds $100,000.
 3   While the systems that Beeche ultimately “sells” may have a
 4   retail value that exceeds $100,000, Fort Miller was not asked
 5   that question.
 6        The term “manufacture” is not defined in the
 7   application.   Fort Miller has submitted evidence that it
 8   interpreted “manufacture” to mean creating a product from raw
 9   materials and that it honestly, even conservatively, answered
10   the questions as it understood them.   On summary judgment, I
11   cannot interpret a term, which Unionamerica itself chose not
12   to define, against the insured where the insured’s
13   interpretation is not unreasonable.    At most the questions in
14   the application created an ambiguity, which must be construed
15   against Unionamerica.   See Ransom v. Penn Mut. Life Ins. Co.,
16   43 Cal. 2d 420, 424 (1954) (provisions of an application
17   clause that are susceptible to two different constructions
18   must be resolved against the insurer); State Farm Mut. Ins.
19   Co. V. Partridge, 10 Cal. 3d 94, 102 (1973)(“all ambiguities
20   in an insurance policy are construed against the insurer -
21   draftsman.”)   Unionamerica’s motion for summary adjudication
22   that it is entitled to rescission because Fort Miller
23   misrepresented the value of its products is DENIED.
24             Fort Miller’s Alleged Failure to Provide
25           Requested Information About Beeche’s Products
26        Unionamerica next argues that defendants had a duty to
27   disclose “all facts within their knowledge” that may have
28   been material to the risk, which included a duty to disclose

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 1    every one of Fort Miller’s and its subsidiaries’ products on
 2    the application as well as attach all product brochures and
 3    promotional materials.   Unionamerica contends that Fort
 4    Miller’s alleged failure to list Beeche’s products or provide
 5    product brochures was a material concealment that entitles it
 6    to rescission as a matter of law.11
 7         Neither side has cited any California case which
 8    analyzes the duties of the insurance company and the insured
 9    in the context of a commercial policy application, and the
10    Court has found none.    Instead, both sides cite to cases
11    analyzing applications principally for health and life
12    insurance.   For example, Unionamerica cites repeatedly to
13    Thompson v. Occidental Life Ins. Co., 9 Cal.3d 904, 915
14    (1973) for the proposition that Fort Miller had a duty to
15    tell Unionamerica “all it knew” about its business.    While
16    this may make sense in the context of answering questions
17    about one’s medical history, it makes less sense in the
18    context of Fort Miller answering questions about its eight
19    subsidiary companies-- which make thousands of products--
20    especially when it is given two or three lines in which to do
21    so in a form application that provides no additional
22    instructions.12
23
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               During argument, Fort Miller conceded that Beeche had
24   product brochures in 1999.
25        12
               The only case cited to by Unionamerica outside of the
     context of life or health insurance is Imperial Casualty and
26   Indemnity Co. v. Sogomonian, 198 Cal.App.3d 169 (1988)
     similarly is distinguishable. Sogomonian, dealt with
27   misrepresentations by a homeowner who failed to disclose that
     his house had suffered damages in a landslide in his
28   application for fire insurance.

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 1         Another line of health and life insurance cases holds
 2    that an insurer has a duty to investigate the accuracy of the
 3    information provided by the insured, if it knows or should
 4    know the information is untrue.13   Rutherford v. Prudential
 5    Ins. Co. of America, 234 Cal.App.2d 719, 735 (1965) (stating
 6    that if an insurer has facts that put it on notice that the
 7    application is incomplete or inaccurate in material respects,
 8    the insurer should conduct further inquiry); see also
 9    DiPasqua v. California Western States Life Ins. Co., 106
10    Cal.App.2d 281, 284-85 (1951) (insurer could not rescind
11    policy it issued knowing that insured had falsely or
12    negligently answered questions in the application).    In the
13    context of a commercial insurance application such as this, I
14    see some of the parties respective duties as follows: the
15    insured has a duty to truthfully and completely answer the
16    questions on the application; the insurer should ask
17    questions to elicit information that it knows will be
18    material to its underwriting decision; the insurer does not
19    have a duty to investigate the accuracy of the insured’s
20    answers; the insurer does have a duty to ask the applicant to
21    provide further information if it knows or should know that
22    the application is inaccurate or incomplete.14
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               In part, these cases rely on Section 336 of the
24   Insurance Code which provides: “The right to information of
     material facts may be waived, either (a) by the terms of
25   insurance or (b) by neglect to make inquiries as to such facts,
     where they are distinctly implied in other facts of which
26   information is communicated.”
27        14
               In the context of automobile insurance, the law
     requires an insurer to undertake a reasonable investigation of
28   the insured’s insurability within a reasonable period of time

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 1         With these respective duties in mind, Fort Miller has
 2    offered evidence that even though it did not list Beeche’s
 3    individual products on the policy applications, in the 1999
 4    application it disclosed Beeche’s business as “engineered
 5    access”, and in the 2001 application, it added “access
 6    platforms” to the list of products.    If Unionamerica, knowing
 7    that Beeche was one of the Fort Miller companies it was being
 8    asked to insure, did not, as it contends, get any brochures
 9    or other information which sufficiently described Beeche’s
10    products so that it could make an informed underwriting
11    decision, it could have asked for further information.
12    Likewise, if Unionamerica did not understand the meaning of
13    terms such as “engineered access” or “access platforms” that
14    Fort Miller used, it could have asked.
15         In any event, there is evidence that Hoffman conducted
16    an independent investigation into Fort Miller’s products
17    using the internet, and that during her investigation, she
18    was directed by Marshall to the individual websites of Fort
19    Miller’s subsidiary companies.     It is reasonable to infer for
20    summary judgment purposes that Hoffman was satisfied with
21    what she learned about the nature of the risk that Fort
22    Miller sought to insure since she decided to place the
23    insurance.
24
25   from the acceptance of the application and the issuance of the
     policy, so as to protect third persons who may be injured by
26   the insured. See Barrera v. State Farm Mut. Auto Ins. Co., 71
     Cal.2d 659, 678 (1969). No California court has yet extended
27   this line of reasoning to other types of insurance, such as the
     gap insurance policy at issue in this case, which also protect
28   injured third parties.

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 1         Finally, Fort Miller submitted evidence that
 2    demonstrates that even if AGF failed to send Beeche brochures
 3    to U.S. Risk or sufficiently list Beeche’s products on the
 4    CGL gap policy applications, there is a genuine issue of
 5    material fact concerning whether its failure to do so was
 6    material to Unionamerica’s decision to underwrite the risk.
 7         Fort Miller submitted evidence that U.S. Risk’s
 8    underwriters’ primary focus, when deciding whether to
 9    undertake an insurance risk, is on the value of the
10    applicant’s products, as opposed to the number of products
11    manufactured or sold, or even each product’s individual risk
12    factor.15   For example, Fort Miller submitted portions of
13    Prah’s deposition testimony in which Prah was asked the
14    following question: “. . . [s]o it doesn’t really matter what
15    the access platform is, provided it’s not individually valued
16    at more than $100,000?”   In response, Prah answered “[t]hat’s
17    correct.”   (Miller Decl. Exh. G 125:23-25-126:1.)
18         As previously stated, summary judgment of rescission may
19    be properly granted for the insurer where the only reasonable
20    inference to be drawn from the evidence presented is that
21    “the false negative answers and omissions of [the applicant]
22    were material to [the insurer’s] decision to provide
23    insurance coverage.”   Sogomonian, 198 Cal.App.3d at 182.    In
24    California, this requires the insurer to demonstrate that,
25    had the true facts been disclosed, they would have caused the
26    insurer’s underwriters to reject the application or accept it
27
          15
               (See Miller Decl. Exh. G 90:21-91:5, 123:4-10, 131:5-
28   24, 153:19-154:8.

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 1   only under different terms.           Old Line Life Ins. Co. v.
 2   Superior Court, 229 Cal.App. 3d 1600, 1604-06 (1991).                 In
 3   light of the evidence offered by Fort Miller, there is an
 4   issue to be tried as to the materiality of Fort Miller’s
 5   failure to list Beeche’s products on the policy applications
 6   or its failure to provide U.S. Risk with any Beeche product
 7   brochures.
 8         For the foregoing reasons, Unionamerica’s motion for
 9   summary adjudication is DENIED.
10   Dated: December 22, 2008
11                                                Bernard Zimmerman
                                            United States Magistrate Judge
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